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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

George Moore
                                 Plaintiff,
v.                                                   Case No.: 1:18−cv−04563
                                                     Honorable Charles P. Kocoras
Higher Homecare LLC
                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 15, 2018:


        MINUTE entry before the Honorable Charles P. Kocoras: Pursuant to Notice of
Voluntary Dismissal filed on 8/8/2016 [7], this case is dismissed without prejudice. Civil
case terminated. Mailed notice(vcf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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